Case 7:21-cv-01981-VB Document 24 Filed 11/03/21 Page 1of1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

x
JESSENIA ACOSTA, |
Plaintiff,
ORDER
Vv.
ROCKLAND N.Y. MEDICAL SERVICES, 21 CV 1981 (VB)
PC,
Defendant.
x

 

The Court has been advised that the parties have settled this case. Accordingly, it is
hereby ORDERED that this action is dismissed without costs, and without prejudice to the right
to restore the action to the Court’s calendar, provided the application to restore the action is
made by no later than December 3, 2021. To be clear, any application to restore the action must
be filed by December 3, 2021, and any application to restore the action filed thereafter may be
denied solely on the basis that it is untimely.

All scheduled conferences or other scheduled court appearances are cancelled. Any
pending motions are moot.

The Clerk is instructed to close this case.

Dated: November 3, 2021
White Plains, NY

SO ORDERED:

Vl

Vincent L. Briccetti
United States District Judge

 

 

 

 
